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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8 ANN MAYHALL, on behalf of her Minor
   Child, D.M., individually and on behalf of all
 9 others similarly situated,                               Case No. C21-1473 TL-MLP

10                                 Plaintiff,               ORDER SETTING TRIAL DATE
                                                            AND PRETRIAL SCHEDULE
11          v.

12 AMAZON WEB SERVICES, INC., et. al.,

13                                 Defendants.

14                                              INTRODUCTION

15          Having reviewed the Joint Status Report and Discovery Plan submitted by the parties

16 (dkt. # 26), the Court hereby sets this case for a jury trial and orders the following pretrial

17 schedule:

18                                       Event                                          Date

19      JURY TRIAL to begin at 9:00 a.m., on:                                        1/22/2024

20      Deadline for joining additional parties                                      9/16/2022

21      Deadline for amending pleadings                                              9/16/2022

22      Motion for Class Certification                                               2/24/2023

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     SCHEDULE - 1
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 1     Response to Motion for Class Certification                              45 days after filing
                                                                                   of motion
 2
       Reply in Support of Motion for Class Certification                      30 days after filing
 3                                                                                 of response

 4     Reports of expert witnesses under FRCP 26(a)(2) due                          7/10/2023

 5     All motions related to discovery must be filed by this date and              7/10/2023
       noted for consideration no later than the third Friday thereafter
 6     (see LCR7(d))
       Rebuttal expert disclosures under FRCP 26(a)(2) due                          8/14/2023
 7
       Discovery to be completed by                                                 8/14/2023
 8
       All dispositive motions and motions to exclude expert testimony              9/18/2023
 9     for failure to satisfy Daubert must be filed pursuant to LCR 7(d)
       Settlement Conference, if mediation has been requested by the               10/20/2023
10     parties per LCR 39.1, held no later than
11     Mediation per LCR 39.1, if requested by the parties, held no later          11/20/2023
       than
12
       All motions in limine must be filed by                                      12/18/2023
13
       Agreed LCR 16.1 Pretrial Order due                                           1/2/2024
14
       Trial briefs, proposed voir dire questions, proposed jury                    1/8/2024
15
       instructions, deposition designations, and exhibit lists due by this
       date. Counsel are to confer and indicate with their submissions
16
       which exhibits are agreed to.
17
       Pretrial Conference scheduled for 9:30 a.m. on                               1/16/2024
18

19          The dates set forth in this order are firm dates that can be changed only by order of the

20 Court, not by agreement of counsel for the parties. The Court will alter these dates only upon

21 good cause shown. Failure to complete discovery within the time allowed is not recognized as

22 good cause.

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 1          If the trial dates assigned to this matter create an irreconcilable conflict, counsel must

 2 notify Tim Farrell, deputy clerk, in writing within ten (10) days of the date of this Order and

 3 must set forth the exact nature of the conflict. A failure to do so will be deemed a waiver.

 4 Counsel must be prepared to begin trial on the date scheduled, but it should be understood that

 5 the trial may have to await the completion of other cases.

 6                                         PRONOUN USAGE

 7          All are encouraged to let the Court know their pronouns either in the signature lines of

 8 pleadings, advising the in-court deputy clerk before the hearing begins, or orally advising the

 9 judge at a hearing.

10                                 APPEARING BEFORE THE COURT

11          The opportunity to appear and argue before the Court is valuable to becoming a

12 competent and experienced lawyer. The Court encourages law firms and litigants to provide this

13 opportunity to the widest variety of all counsel, including new lawyers, especially where these

14 lawyers drafted or significantly contributed to motions and responses.

15                              MEET AND CONFER REQUIREMENT

16          For all cases, except applications for temporary restraining orders, counsel contemplating

17 the filing of any motion shall first contact opposing counsel to discuss thoroughly, preferably in

18 person, the substance of the contemplated motion and any potential resolution. The Court

19 construes this requirement strictly. Half-hearted attempts at compliance with this rule will not

20 satisfy counsel’s obligation.

21          The parties must discuss the substantive grounds for the motion and attempt to reach an

22 accord that would eliminate the need for the motion. The Court strongly emphasizes that

23 discussions of the substance of contemplated motions are to take place, if at all possible, in


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 1 person. All motions must include a declaration by counsel briefly describing the parties’

 2 discussion and attempt to eliminate the need for the motion and the date of such discussion.

 3 Filings not in compliance with this rule may be stricken.

 4                                           COOPERATION

 5          As required by LCR 37(a), all discovery matters are to be resolved by agreement if

 6 possible. Counsel are also directed to cooperate in preparing the final pretrial order in the format

 7 required by LCR 16.1, except as ordered below.

 8                                               EXHIBITS

 9          The original and two copies of the trial exhibits are to be delivered to Judge Lin’s chambers

10 five days before the trial date. Each exhibit shall be clearly marked. The Court hereby alters the

11 LCR 16.1 procedure for numbering exhibits: Plaintiff(s)’ exhibits shall be numbered consecutively

12 beginning with P-1; defendant(s)’exhibits shall be numbered consecutively beginning with D-1.

13 Joint exhibits shall be numbered consecutively beginning with J-1. Duplicate documents shall not

14 be listed twice. Each exhibit shall be printed double-sided unless there is a specific need to not do

15 so. Once a party has identified an exhibit in the pretrial order, it may be used by any party. Each

16 set of exhibits shall be submitted in a three-ring binder with appropriately numbered tabs.

17                                            SETTLEMENT

18          If this case settles, Plaintiff’s counsel shall notify deputy clerk, Tim Farrell at (206) 370-

19 8422 or via e-mail at: Tim_Farrell@wawd.uscourts.gov, as soon as possible. Pursuant to

20 LCR11(b), an attorney who fails to give the Deputy Clerk prompt notice of settlement may be

21 subject to such discipline as the Court deems appropriate. The Clerk is directed to send copies of

22 this Order to all parties of record.

23


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 1                                  CHAMBERS PROCEDURES

 2         Unless specifically noted otherwise, Judge Peterson follows the Court’s Local Rules.

 3 Counsel are directed to consult the Local Rules for the Western District of Washington and the

 4 Federal Rules of Civil Procedure on all matters. Counsel are also expected to be familiar with

 5 Judge Peterson’s Chambers Procedures, which are available on the Court’s website.

 6

 7       DATED this 12th day of April, 2022.

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 9                                                      A
                                                        MICHELLE L. PETERSON
10                                                      United States Magistrate Judge
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     SCHEDULE - 5
